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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

ANDY RODRIGUEZ,

          Plaintiff,

v.                                                      Case No.: 2:21-cv-498-JLB-NPM

COMMONWEALTH FINANCIAL
SYSTEMS, INC.,

          Defendant.
                                                  /

                                     CIVIL ACTION ORDER1

        The Court enters this Civil Action Order to govern this action. Counsel and all

parties (represented and pro se) must comply fully with this Order.

1.        Proof of Service of Process

      A party must file proof of service within TWENTY-ONE (21) DAYS after
      service of a summons and complaint. See Local Rule 1.10(a).2

2.        Deadline for Default

      A party entitled to a default must apply for the default within TWENTY-
      EIGHT (28) DAYS after a party’s failure to plead or otherwise defend. See
      Local Rule 1.10(b).

3.        Disclosure Statement

          With the first appearance, each party must file a disclosure statement with the

Court. See Rule 7.1; Local Rule 3.03. For this purpose, a template Disclosure

Statement is available under the “Forms” tab on each judge’s webpage. If not yet done,




1
    This is effective February 1, 2021 to align with the revised Local Rules.
2
 For this Order, any reference to “Local Rule” means the Middle District of Florida Local Rules, and
any reference to “Rule” means the Federal Rules of Civil Procedure.
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each party must IMMEDIATELY complete and file this Disclosure Statement. The

failure to do so may preclude any relief being granted by the Court, including

extensions of time.

        The parties are further directed to jointly complete and file, as a separate docket

entry, the Notice of a Related Action available under the “Forms” tab on each judge’s

webpage. This Notice is to be filed when filing the Uniform Case Management Report

discussed below. Notwithstanding the instruction in the Uniform Case

Management Report, a Notice of Related Action must be filed in all cases in the

Fort Myers Division, even if no related action exists.

4.      Case Management Report – Timing and Exceptions

     The parties must file a Uniform Case Management Report using the standard
     form available under the “Forms” tab on each judge’s webpage within FORTY
     (40) DAYS after any defendant appears in an action originating in this Court;
     or after the docketing of an action removed or transferred to this Court. See
     Local Rule 3.02.3 The Preference tab on each assigned judge’s webpage sets
     forth additional parameters for the parties to follow when submitting a Uniform
     Case Management Report.4

     If the parties submit an incomplete or perfunctory Uniform Case Management
     Report, or use the wrong form, the Court may strike it and require the parties
     to meet in person and resubmit.

     No Uniform Case Management Report is needed for an action in which the
     Court enters a special scheduling order.5 See Local Rule 3.02(d)(1). For other

3
  The Uniform Case Management Report must be filed within seventy (70) days after service for
actions against the United States, a United States agency, a United States officer or employee sued in
their official capacity or individual capacity in connection with a duty performed on behalf of the
United States.
4
 For patent cases requiring claim construction, a Patent Case Management Report is available under
the “Forms” tab on each judge’s webpage.
5
  For actions brought under Title II or III of the Americans With Disabilities Act (ADA), the Fair
Labor Standards Act (FLSA), the Telephone Consumer Protection Act (as amended by the Junk Fax
Prevention Act) (TCPA), the Fair Debt Collection Practices Act (FDCPA), the Real Estate Settlement
Procedures Act (RESPA), the Florida Consumer Collection Practices Act (FCCPA), and/or other
state law consumer protection statutes, or the Fair Credit Report Act (FCRA) and/or other related
state law consumer protection statutes, a special scheduling order will be issued immediately after any
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     actions excepted from the Civil Case Management requirement under Local
     Rule 3.02(d), the parties must file a notice titled, “Notice of Exception Under
     Local Rule 3.02(d),” and state that a Uniform Case Management Report will
     not be filed.6 Any Notice of Exception must be filed within FOURTEEN (14)
     DAYS of this Order in an action originating in this Court, or within FIVE (5)
     DAYS of this Order in any action removed or transferred to this Court.

5.      Case Management and Scheduling Order

     For most cases,7 a Preliminary Pretrial Conference will be scheduled. The
     assigned Magistrate Judge will consider the Case Management Report and
     schedule the Preliminary Pretrial Conference before issuing a Case
     Management and Scheduling Order. All counsel of record and unrepresented
     parties must appear for the Preliminary Pretrial Conference. The filing of a
     Uniform Case Management Report does not relieve the parties of their
     obligation to appear for a previously noticed Preliminary Pretrial Conference.

6.      Expectations for the Rule 26(f)(2) Conference & Rule 26(f)(3) Discovery Plan

        Mindful of their obligation to construe and employ both the federal and local

rules to secure the just, speedy, and inexpensive disposition of this action (see Rules 1;

16(c)(2)(P)), the parties must thoughtfully consider the proportional needs of this case

given the claims, defenses, and other considerations in Rule 26(b)(1), and engage in a

meaningful and appropriate discussion of the full collection of issues identified in

Rules 16(b)(3), 16(c)(2), 26(f)(2) and 26(f)(3).

        When reasonably feasible, the parties are strongly encouraged to include at least

one in-person meeting of the parties or their counsel during the Rule 26(f)(2) process,

and to use video conferencing rather than telephone conferences. To the extent that



defendant appears in an action originating in this Court, or after the docketing of an action removed
or transferred to this Court.
6
 Notwithstanding Local Rule 3.02(d), a Notice of Exception is to be filed in an action under the
Employee Retirement Income Security Act (ERISA) that requires nothing more than a review of the
administrative record, and a Notice of Exception need not be filed in a Social Security appeal.
7
 Local Rule 3.02(d) cases will not be scheduled for a Preliminary Pretrial Conference unless and until
the parties are required to file a Uniform Case Management Report.
                                                  3
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matters like confidentiality agreements, protocols for searching or producing

electronically stored information, HIPAA qualified protective orders, or Rule 502(d)

orders may be appropriate, the parties are expected to exchange drafts before the Rule

26(f)(2) conference and reduce them to stipulations during or immediately thereafter.

See Local Rule 3.05. Other than HIPAA qualified protective or Rule 502(d) orders, the

Court does not adopt or endorse confidentiality or other discovery agreements as

protective orders, but the Court will enforce reasonable provisions of such

agreements.8

7. Continuing Duty to Confer and Update the Court

        After a motion is filed, and so long as it remains pending, the parties have a

mutual obligation to continue to confer in good faith to narrow or resolve the issue(s)

presented and promptly apprise the Court of any issue(s) resolved.

        To properly discharge their Local Rule 3.01(g) obligation, movants must confer

with the parties to the action and any non-party against which any relief is requested.

     “The purposeful evasion of a communication under this rule can result in a
     sanction.” Local Rule 3.01(g).

8.      Emergency Motions

        Before filing a motion designated as an “emergency” or “time-sensitive,” the

movant must review Local Rule 3.01(e); Henry v. The Fla. Bar, No. 6:15-cv-1009-ORL-

41TBS, 2015 WL 13590158 (M.D. Fla. Sept. 28, 2015); and Wiand v. Wells Fargo Bank,

N.A., No. 8:12-cv-00557-T-27EAJ, 2013 WL 12173591 (M.D. Fla. Nov. 13, 2013),




8
  The Court cannot compel parties to enter into a confidentiality agreement. If a party unreasonably
claims protection for, or opposes protecting, confidential information, then the Court may impose an
award of attorney’s fees and costs against the offending party or counsel. See Rule 37(a)(5).
                                                 4
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and then call the assigned magistrate judge’s chambers to apprise about the filing.

      “The unwarranted designation of a motion as an emergency can result in a
      sanction.” Local Rule 3.01(e).

9.       Motions to Strike

         The Court generally disfavors motions to strike and often considers them

timewasters. Before filing a motion to strike, the movant must review Yellow Pages

Photos, Inc. v. Ziplocal, LP, No. 8:12-cv-755-T-26TBM, 2012 WL 12920185 (M.D. Fla.

Sept. 17, 2012), and United States Sec. & Exch. Comm'n v. Spartan Sec. Grp., LTD, No.

8:19-cv-448-T-33CPT, 2019 WL 3323477 (M.D. Fla. July 24, 2019), and then explain

in the motion why the requested relief is warranted notwithstanding the rationale and

authorities cited therein.

10.      Motions to Seal

         Designating material as confidential, sensitive, proprietary or the like, even if

stipulated, does not alone warrant an order to seal such items when filed with the

Court. Nor do conclusory or speculative allegations concerning the nature of the

documents or the harms that may result from disclosure. Rather, the Court must

carefully balance the need to facilitate the acquisition and use of relevant information

by the parties against the general presumption that substantive aspects of a civil action

are a matter of public concern. See generally Romero v. Drummond Co., 480 F.3d 1234,

1245-48 (11th Cir. 2007); Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d

1304, 1310-1315 (11th Cir. 2001). “Sealing is not authorized by a confidentiality




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agreement, a protective order, a designation of confidentiality, or a stipulation.” Rule

1.11(a). Accordingly, compliance with Local Rule 1.11 is strictly enforced.9

      “No seal under this rule extends beyond ninety days after a case is closed and
      all appeals exhausted.” Local Rule 1.11(f).

11.       Discovery Practices

          Discovery requests are untimely if the response period provided by rule expires

after the discovery period. The parties must electronically exchange all discovery

requests in a text-searchable format (e.g., native word-processing document or text-

searchable PDF file format). Unless a party provides and justifies an express objection

in the Case Management Report to service of discovery by e-mail, the Court deems all

parties (except incarcerated or detained persons not represented by counsel) to have

consented to service of discovery by e-mail. See Rule 5(b)(2)(E).

      Disclosures under Rule 26(a)(1) or (2), depositions, interrogatories, requests for
      documents or tangible things or to permit entry onto land, and requests for
      admission must not be filed until they are used in the proceeding or the Court
      orders the filing. See Rule 5(d)(1).
         Other than a Rule 35 physical or mental examination, litigants may stipulate –

within the confines of the Court’s orders – to methods, procedures and extensions of

time for discovery without Court intervention.10 So long as other deadlines and

scheduled events are not affected, parties may also agree to conduct discovery after the

discovery deadline. But motions to compel filed after the discovery deadline are

presumptively untimely and may be denied on that basis alone.




9
    See also M.D. Fla. Admin. Procedures for Elec. Filing, pp. 6, 11, 14.
10
     See also Middle District Discovery at §§ I(A)(4), I(E)(1), I.
                                                     6
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12.   Expert Witness Reports and Depositions

      The parties must fully comply with Rule 26(a)(2) on or before the deadline for

their expert disclosures. Expert testimony on direct examination at trial will be limited

to the opinions, bases, reasons, data, and other information disclosed in the written

expert report. Failure to disclose this information may result in the exclusion of all or

part of the expert witness’s testimony.

      If not previously provided or otherwise agreed, service of an expert report by

any party must include the disclosure of at least three dates of availability for the

expert to be deposed no sooner than one week and no later than three weeks after

service of the expert’s report. The parties are encouraged to discuss these scheduling

issues well before the service of such reports and to place holds on dates as appropriate.




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13. Properly Utilizing Electronic Filing

        The Court expects electronic filers to make full and thoughtful use of the

CM/ECF capabilities. In particular, documents that accompany a paper must be filed

as separate PDF files, and each is to be given a concise, unique and objective label

using the category and description fields provided, such as “Exhibit A – Sale and

Purchase Agreement,” “Exhibit B – Demand Letter,” and “Exhibit C – Deposition of

Denver Smith” and not “Exhibit – A,” “Exhibit – B,” and “Exhibit – C.” The Court

may strike filings that fail to heed this request. A previously filed document need not

be refiled and should instead be cited by document number (for example, “Doc. 1-1”).

14.     Mediation

        All actions will be referred to mediation. See Local Rule 4.03. The parties must

designate a mediator, indicate whether the mediator is certified by this Court, 11 and

propose a mediation deadline in the Case Management Report.

        DONE and ORDERED in Fort Myers, Florida on July 6, 2021.

          /s/ Sheri Polster Chappell                            /s/ John Badalamenti
           Sheri Polster Chappell                                John Badalamenti
         United States District Judge                        United States District Judge

              /s/ John E. Steele                                 /s/ Mac R. McCoy
               John E. Steele                                     Mac R. McCoy
      Senior United States District Judge                  United States Magistrate Judge

        /s/ Nicholas P. Mizell
            Nicholas P. Mizell
       United States Magistrate Judge




11
  If asked by a judge, a mediator must conduct at least one mediation a year in which the judge
determines that a party lacks the ability to pay the mediator. See Local Rule 4.02(e). Unrepresented
parties or parties with pro bono counsel may request the Court authorize all or part of their mediator
fee be reimbursed by the Court’s Bench Bar Fund. See Local Rule 4.02(d).
                                                  8
